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 UNITED STATES BANKRUPTCY COURT
 DISTRICT OF NEW JERSEY
 Caption in Compliance with D.N.J. LBR 9004-1(b)
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 Counsel to the Plan Administrator

 In re:                                                             Chapter 11

 BED BATH & BEYOND INC., et al.,1                                   Case No. 23-13359 (VFP)

                                    Debtors.                        (Jointly Administered)


 OBJECTION OF THE PLAN ADMINISTRATOR TO MOTION OF COMMON STOCK
  EQUITY INTEREST HOLDERS FOR CERTIFICATION OF DIRECT APPEAL TO
     THE UNITED STATES COURT OF APPEALS FOR THE THIRD CIRCUIT

          Michael Goldberg, as plan administrator (the “Plan Administrator”),2 files this objection

 (the “Objection”) to the Emergency Motion of Common Stock Equity Interest Holders For

 Certification of Direct Appeal to the United States Court of Appeals for the Third Circuit [Docket

 No. 2450 and 2450-1] (the “Certification Motion”), filed by Neely Das and Gabriel Rostom


 1
   The last four digits of Debtor Bed Bath & Beyond Inc.’s tax identification number are 0488. A complete list of the
 Debtors in these chapter 11 cases and each such Debtor’s tax identification number may be obtained on the website
 of the Debtor’s proposed claims and noticing agent at https://restructuring.ra.kroll.com/bbby.
 2
   The Plan Administrator has been appointed pursuant to the Debtors’ confirmed Plan, as defined herein. The Plan
 Administrator is responsible for and has the authority to administer certain post-confirmation responsibilities under
 the Plan on behalf of the Wind-Down Debtors (as defined in the Plan).

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 (“Movants”). In support of his Objection, the Plan Administrator submits the Declaration of

 Michael Goldberg (the “Goldberg Declaration”) and states as follows:

                                I.       PRELIMINARY STATEMENT

         1.       Movants are two common stockholders of Debtor Bed Bath & Beyond, Inc.

 (“BBB”), the pre-Plan effective date public company that owned or was affiliated with each of the

 other Debtors. Under the Debtors’ confirmed Plan, which went effective on September 29, 2023,

 all common stock (the “Stock”) of BBB was cancelled.3                     Movants’ various objections to

 confirmation of the Plan were overruled by this Court after they were provided with ample

 opportunity to present their arguments. Those arguments were rejected on the grounds Movants

 cited no legal authority – nor could they as there is none – for their objections and the Court itself

 could not find any. Movants did not present any evidence at the confirmation hearing in support

 of the factual allegations included in their plan objections or arguments, and instead relied, as they

 do here, on a variety of internet searches, social media postings, rumors, and the like that do not

 constitute admissible or reliable evidence.

         2.       Movants are now appealing the Confirmation Order. As part of that appeal,

 Movants seek certification of their appeal directly to the Third Circuit. The Certification Motion

 should be denied because it is based on the same legally unsustainable arguments as their

 objections to confirmation, none of which involve unsettled questions of law, issues of public

 importance, or resolution of conflicting opinions and none of which will materially advance the

 progress of these cases.




 3
  See Goldberg Declaration confirming that all equity was cancelled on the Effective Date of the Plan and DTC has
 administratively cancelled the CUSIP numbers associated with the common equity interests in BBB, including those
 held by Movants.

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         3.       Movants’ arguments are based on a fundamental misunderstanding of bankruptcy

 law, and flow from the flawed premise that shares of stock in a corporation are owned by the

 corporation such that the stock becomes “property of the estate” within the meaning of section 541

 of the Bankruptcy Code (11 U.S.C. § 101, et seq.) upon the filing of a bankruptcy petition. This

 premise is legally incorrect. No authority exists under either applicable state law or the Bankruptcy

 Code for Movants’ flawed premise that shares of a corporation’s stock are owned by the

 corporation. The applicable law here is anything but unsettled, and renders Movants’ merits

 arguments utterly baseless. Therefore, the Certification Motion should be denied.

                                   II.    BACKGROUND FACTS

 A.      The Bankruptcy Case

         4.       On April 23, 2023, each of the above-captioned debtors, including BBB (the

 “Debtors”) filed a voluntary petition under chapter 11 of the Bankruptcy Code before the United

 States Bankruptcy Court for the District of New Jersey (the “Court”). During these chapter 11

 cases, the Debtors continued to operate their businesses and manage their properties as debtors and

 debtors in possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. These

 chapter 11 cases were procedurally consolidated and jointly administered pursuant to Rule 1015(b)

 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”). No party requested the

 appointment of a trustee or examiner in these chapter 11 cases.

         5.       On May 5, 2023, the United States Trustee for the District of New Jersey (the “U.S.

 Trustee”) appointed an official committee of unsecured creditors pursuant to section 1102 of the

 Bankruptcy Code (the “Committee”). See Notice of Appointment of Official Committee of

 Unsecured Creditors [Docket No. 218].




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 B.      The Plan and Confirmation

         6.       On July 21, 2023, the Debtors filed their Motion For Entry of an Order (I) (A)

 Conditionally Approving the Adequacy of the Disclosure Statement, (B) Approving the Solicitation

 and Notice Procedures With Respect to Confirmation of the Plan, (C) Approving the Forms of

 Ballots and Notices in Connection Therewith, (D) Scheduling a Combined Disclosure Statement

 Approval and Plan Confirmation Hearing and Certain Dates and Deadlines With Respect Thereto,

 and (E) Granting Related Relief, and (II) (A) Extending the Debtors’ Exclusive Periods to File a

 Chapter 11 Plan and Solicit Acceptances Thereof Pursuant to Section 1121 of the Bankruptcy

 Code and (B) Granting Related Relief [Docket No. 1438] (the “Conditional DS Motion”) seeking

 conditional approval of the adequacy of the Disclosure Statement Relating to the Joint Chapter 11

 Plan of Bed Bath & Beyond Inc. and Its Debtor Affiliates, [Docket No. 1437] (as amended, the

 “Disclosure Statement”), in order to commence solicitation of votes on the Debtors’ Joint Chapter

 11 Plan of Bed Bath & Beyond Inc. and Its Debtor Affiliates [Docket No. 1429] (as amended, the

 “Plan”), and to schedule a consolidated hearing to consider both the adequacy of the Disclosure

 Statement on a final basis and confirmation of the Plan.

         7.       On August 2, 2023, the Court entered its Order approving the Conditional DS

 Motion [Docket No. 1716] (the “Conditional DS Order”), which among other things, conditionally

 approved the Disclosure Statement, established procedures for soliciting votes for or against the

 Plan, established deadlines for the filing of objections to both the Plan and the Disclosure

 Statement, and consolidated the hearing on final approval of the Disclosure Statement and

 confirmation of the Plan as permitted by section 105(d)(2)(B)(vi) of the Bankruptcy Code. As set

 forth in the Conditional DS Order, the dates established for notice of the hearing on the Disclosure




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 Statement and Plan, solicitation of votes on the Plan, and filing objections to the Disclosure

 Statement and Plan were consistent with the Bankruptcy Rules.

          8.       On August 28, 2023, Movants moved to vacate [Docket No. 2068-1] (the “Motion

 to Vacate”)4 parts of the Conditional DS Order on the grounds that, in pertinent part, (a) there was

 a scrivener’s error on the opt-out form for parties deemed to reject the Plan;5 (b) the claims of

 certain bondholders who were also holding borrowed shares of the Debtors’ Stock were disallowed

 because the Stock constituted property of the Debtors’ estate which had not been returned, and

 such claimants were therefore, ineligible to vote on the Plan; and (c) cancelling the Stock before

 it was turned over to the Debtors was “not fair and equitable” in accordance with section 1129(b)

 of the Bankruptcy Code. See Motion to Vacate. These same arguments were repeated in Movants’

 September 12, 2023 Objection to the Plan and Disclosure Statement [Docket No. 2192] (the

 “DS/Plan Objection” and with the Motion to Vacate, the “Plan Objections”). The “evidence”

 included in the Plan Objections were references to numerous SEC filings, charts, articles and

 excerpts of social media postings showing that a certain bondholder had published articles on

 hedging/short selling investment strategies and owned both bonds and Stock in the Debtors, and

 publicly-available market data on short selling positions in BBB Stock.

          9.       On September 11, 2023, the Debtors filed their Second Amended Joint Chapter 11
                                                                                               6
 Plan of Bed Bath & Beyond Inc. and its Debtor Affiliates [Docket No. 2160], and on September


 4
   On August 8 and August 10, 2023, Movants filed manually and then electronically Docket No. 1878 which was an
 objection to the Conditional DS Motion (the “DS Objection”). By the time the DS Objection was filed on the docket,
 the Conditional DS Order had already been entered. On August 31, 2023, in response to an objection filed by the
 Debtors indicating the DS Objection was late filed, Movants filed Docket No. 3125 (the “DS Objection Reply”)
 indicating the efforts they had made, as pro se litigants, to obtain ECF privileges and file the DS Objection prior to
 the August 1, 2023 hearing on the Conditional DS Motion. The inability of Movants to timely file their DS Objection
 prior to the hearing on the Conditional DS Motion and entry of the Conditional DS Order resulted in Movants filing
 the Motion to Vacate.
 5
   The “scrivener’s error” objection was resolved on September 7, 2023, when Debtors’ counsel informed Movants that
 they would not be included in the Plan definition of “Releasing Parties.” See Transcript at 55:5-14.
 6
   Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Plan.

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 12, 2023, the Court held a hearing on the final approval of the Debtors’ Disclosure Statement and

 confirmation of the Plan (the “Confirmation Hearing”). See Transcript of Confirmation Hearing

 [Docket No. 2175] (the “Transcript”). Movants’ Motion to Vacate was treated as an objection to

 both final approval of the Disclosure Statement and confirmation of the Plan. Transcript at 15:6-

 17. That day, the Debtors also filed their Proposed Findings of Fact, Conclusions of Law, and

 Order (I) Approving the Disclosure Statement on a Final Basis and (II) Confirming the Second

 Amended Joint Chapter 11 Plan of Bed Bath & Beyond Inc. and Its Debtor Affiliates [Docket No.

 2162] in support of the Plan.

          10.      During the Confirmation Hearing, the Court heard extensive argument on Movants’

 Plan Objections that the Plan is not “fair and equitable” under section 1129(b)(2) on the grounds

 that (a) the borrowed Stock held by certain claimants who were also bondholders was subject to

 turnover under section 542, and (b) therefore, those claimants had disallowed claims and were not

 eligible to vote on the Plan.7 See Transcript at 55:15-56-58:23.

          11.      In support of their Plan Objections, Movants argued that the Stock is considered

 “valuable property of the estate,”8 and that under section 542 of the Bankruptcy Code, such Stock

 is “returnable” to the Debtors. Transcript at 57:1-4.                   Therefore, Movants argued (the Plan

 Administrator does not pretend to understand these contentions, but merely repeats them) that the

 bondholder creditors holding such Stock are “ineligible to vote to accept or reject the plan,” and

 their claims are “disallowed.” Id. at 57:5-10. Movants maintained the Plan is thus not “fair and


 7
   Notwithstanding Movants’ repeated argument that certain bondholders who were also stockholders were not entitled
 to vote because of their alleged bad acts, Movants never filed a motion to designate the votes of these claimants as
 permitted under section 1126(e) of the Bankruptcy Code.
 8
   In making this argument, Movants relied on the Final Order (I) Approving Notification and Hearing Procedures for
 Certain Transfers of Common Stock and Preferred Stock and (II) Granting Related Relief [Docket No. 587] which
 granted the related Stock Transfer Motion [Docket No. 23] (the “Trading Order”) to restrict stock trading so as to
 preserve the Debtors’ net operating losses (NOL). The Stock Transfer Motion indicated that the Debtors’ NOL was a
 valuable asset of the estate; not that the Stock itself was valuable. The Court reiterated this point at the Confirmation
 Hearing. Transcript at 58:10-17; 63:2-22.

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 equitable” because it allowed for “disallowed claims” to vote on it, “while it unfairly affects the

 shareholders who are not allowed to basically get the greatest possible value of their shares which

 would have occurred if all the borrowed shares were returned.” Transcript at 57:15-24. Movants

 did not present any evidence at the Confirmation Hearing in support of the factual allegations

 included in their Plan Objections as to how “borrowed Stock,” even if returned to the Debtors

 rather than its owner, would have value to the Debtors such that the result would be a recovery to

 Movants.

         12.         After hearing Movants’ arguments, this Court stated that it “couldn’t find any

 authority for the proposition that authorized stock of a debtor corporation is property of the estate

 and the debtor corporation as opposed to the party holding the stock.” Transcript at 56:3-9. The

 Court explained that there is no “determination that the underlying shares of stock are a valuable

 asset or property of the estate. The NOLs were valuable to the, or the potential NOLs were valuable

 to the bankruptcy estate[,] not the underlying shares of the debtor corporation.” The Court further

 found there is no “foundation for the turnover argument,” and “no foundation for or legal authority

 supporting [the Plan Objections].” Id. at 58:3-20. Accordingly, the Court overruled Movants’

 Plan Objections.

         13.      On September 14, 2023, the Court entered an Order confirming the Plan [Docket

 No. 2172] (the “Confirmation Order”). On September 29, 2023 (the “Effective Date”), the Debtors

 filed the Notice of (I) Entry of the Order (A) Approving the Disclosure Statement on a Final Basis

 and (B) Confirming the Second Amended Joint Chapter 11 Plan of Bed Bath & Beyond Inc. and

 its Debtor Affiliates and (II) Occurrence of Effective Date [Docket No. 2311].

         14.      Prior to confirmation, the Debtors had conducted a number of court-approved asset

 sales which generated certain sale proceeds. The Plan established the process for distributing those



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 sale proceeds as well as monetizing any remaining assets of the Debtors. The Plan vests the

 Debtors’ assets in the Wind-Down Debtors, who, at the direction of the Plan Administrator and

 with oversight from the Oversight Committee, will be responsible for monetizing and thereafter

 distributing such assets to Holders of Allowed Claims in accordance with the Waterfall provisions

 of the Plan.

         15.      Pursuant to the Plan, on the Effective Date, the Plan Administrator became the sole

 representative of the Wind-Down Debtors and assumed responsibility for purposes of resolving

 certain claims, performing claims reconciliation, and objecting to claims in accordance with the

 terms of the Plan Administrator Agreement. Pursuant to the Plan, all Interests in BBB (as defined

 in the Plan), including the Stockholders’ Interests in the Debtors, were “cancelled, released, and

 extinguished.” See Plan, Art. III.B.9.

         16.      Pursuant to Section IV.D of the Plan, the Stock was cancelled as of the Effective

 Date without need for any further action. On October 18, 2023, DTC effectuated the administrative

 cancellation of the CUSIP numbers associated with the Stock, as well as the Debtors’ other

 securities. See Goldberg Declaration.

 C.      The Appeal and the Motion to Stay the Confirmation Order

         17.      On September 29, 2023, Movants filed their Notice of Appeal of the Confirmation

 Order [Docket No. 2305] (the “Appeal”). See Case No. 23-13359-VFP. On Appeal, Movants

 allege the Plan is not “fair and equitable” under section 1129(b)(2) of the Bankruptcy Code for the

 same reasons argued in their Plan Objections; namely, that the Plan improperly allowed

 bondholders who also owned Stock to vote on the Plan because (a) the Stock is property of the

 Debtors’ estates pursuant to section 541 of the Bankruptcy Code, and (b) therefore, the Stock is

 subject to turnover pursuant to section 542 of the Bankruptcy Code. Certification Motion at ¶ 20.



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 On October 13, 2023, Movants filed their Emergency Motion of Common Stock Equity Interest

 Holders for Stay and Associated Relief Pending Appeal Pursuant to Fed. R. Bankr. P. 8013(d) and

 8007 [Docket Nos. 2455, 2471] (the “Stay Motion”), seeking a stay of the Confirmation Order

 pending their Appeal.9 Contemporaneously with the Stay Motion, Movants filed this Certification

 Motion.

                                 III.     ARGUMENT AND AUTHORITIES

 A.         Legal Standard

          18.        The standard for granting a motion for the direct appeal of a bankruptcy court order

 to the court of appeals is set out in 28 U.S.C. § 158(d)(2) which permits a direct appeal if one of

 three criteria are met:

            (i)     the judgment, order, or decree involves a question of law as to which there
            is no controlling decision of the court of appeals for the circuit or of the Supreme
            Court of the United States, or involves a matter of public importance;

            (ii)    the judgment, order, or decree involves a question of law requiring
            resolution of conflicting decisions; or

            (iii) an immediate appeal from the judgment, order, or decree may materially
            advance the progress of the case or proceeding in which the appeal is taken;

 28 U.S.C. § 158(d)(2)(A); see also In re Millennium Lab Holdings II, LLC, 543 B.R. 703, 708,

 Bankr. D. Del. 2016). If the bankruptcy court determines any of these issues in the affirmative, it

 may certify a direct appeal, after which it is within the discretion of the circuit court to accept or

 reject the certification. Id. Certification of direct appeal is not merited in this case as none of the

 statutory criteria exist here.

            19.      Movants pose their issues on appeal as follows:

                     (1)      Whether authorized and outstanding stock of a debtor corporation is
                              property of the estate after the commencement of a bankruptcy case
                              pursuant to section 541 of the Bankruptcy Code?

 9
     Contemporaneously herewith, the Plan Administrator has filed a separate objection to the Stay Motion.

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                   (2)       If the answer to the first question is yes, whether authorized and
                             outstanding stock of a debtor corporation considered as property of
                             the estate is of consequential value or benefit to the estate, so that it
                             is subject to turnover pursuant to section 542 of the Bankruptcy
                             Code?

                   (3)       If the answer to (2) is yes, then does the Plan fail the fair and
                             equitable test because, according to Movants, the Plan allows
                             distributions to holders of claimants whose claims are disallowed
                             because they hold stock in the debtor corporation that is subject to
                             turnover?

 Certification Motion at ¶ 20. As posed by Movants, the issues raised are not independent issues,

 but must be reviewed in sequence, with an affirmative finding required before the next issue can

 be addressed.10

          20.      All of Movants’ Appeal arguments flow from the flawed premise that stock is

 owned by the corporation that issues it rather than the stockholder. Because this premise is

 incorrect as a matter of settled law, none of the standards for a direct appeal can be met. The stock

 of a public corporation is owned by the stockholder, not the corporation. This is not an unsettled

 legal concept, but a recognized truism. Movants have not cited any authority to support their

 assertion that stock is owned by the issuing entity as opposed to its holder, let alone conflicting or

 unresolved authority meriting immediate review by the Third Circuit.




 10
    Many of Movants’ arguments are difficult to understand or based on law that does not apply to this case. For
 example, in numerous sections of the Certification Motion, Movants cite to the Debtors’ alleged violation of certain
 provisions of the Bankruptcy Act (the bankruptcy law that existed prior to adoption of the current Bankruptcy Code
 in 1989). As the Bankruptcy Act is clearly not applicable here, this Objection does not address arguments made under
 the Bankruptcy Act. See Notes to Enactment, 11 U.S. C. § 101 (Nov. 6, 1978) (This statute applies to cases filed after
 October 1, 1979).

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 B.      The Confirmation Order Does Not Involve a Question of Law for which there is No
         Controlling Authority of the Third Circuit or the Supreme Court.

                    (1)      Stock is Owned by the Stockholder, not the Corporation that Issues It.

         21.        The ordinary definition of shareholder provides that a shareholder is: “the owner

 of one or more shares of stock in a corporation, commonly also called a ‘stockholder.’” Law.com

 Legal Dictionary, available at https://dictionary.law.com/Default.aspx?selected=1948. As this

 Court stated in overruling Movants’ Plan Objections on exactly the same grounds asserted here:

 “I, frankly, couldn’t find any authority for the proposition that authorized stock of a debtor

 corporation is property of the estate and the debtor corporation as opposed to the party holding

 the stock.” Transcript at 56:3-6. Movants do not cite any authority for their proposition here.

         22.        The fact that stock is owned by the person who holds it is neither a controversial

 nor unresolved legal concept. As stated by the Securities and Exchange Commission (“SEC”), the

 federal agency that regulates the public debt and equity markets:

                    Shareholders, or stockholders, are the owners of a company’s
                    outstanding shares, which represents a residual portion of the
                    corporation’s assets and earnings as well as a percentage of the company’s
                    voting power. Stockholders have a right to participate in the distribution of
                    corporate assets in the form of dividends (if they are paid) and possibly
                    through the sale of their holdings at a profit on the stock market. Individuals
                    may become shareholders by buying common stock in corporations
                    through brokers or directly from the company (if they offer a direct
                    investment plan). ... If a company goes bankrupt, however, common
                    shareholders are last in line to be repaid (behind creditors and preferred
                    shareholders).

 SEC Investor Publications, Bankruptcy: What Happens When Public Companies Go Bankrupt

 (Feb.         2,         2009)      available      at:      https://www.sec.gov/reportspubs/investor-

 publications/investorpubsbankrupt (emphasis added). The SEC actively participated in these

 cases and appeared at the Confirmation Hearing. At the Confirmation Hearing, the SEC raised

 issues relating to the Plan’s opt-out release and gatekeeper provisions, but never argued or


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 supported Movants’ argument that the Stock of BBB was property of the estate which had to be

 turned over to the Debtors before it could be cancelled. See Transcript at 30-34. This is

 unsurprising insofar as settled law holds to the contrary.11

          23.      Movants’ reliance on case law indicating that section 541 of the Bankruptcy Code

 defines property of the estate broadly is not determinative as none of these cases specifically finds

 that a debtor’s publicly held stock is property of the debtor. Section 541, which defines property

 of the estates as the “legal or equitable interests of the debtor in property as of the commencement

 of the case” does not create a property interest in something which was never owned by the debtor.

          24.      The Supreme Court has weighed in on the scope of property of the estate. In

 Butner v. U.S., the Supreme Court stated: “Property interests are created and defined by state law”

 and the analysis does not change because an entity is in bankruptcy. Butner v. United States, 440

 U.S. 48, 55 (1979). BBB was a public company incorporated under the laws of the State of New

 York. New York recognizes that stock is property of the stockholder, not the corporation. Zyskind

 v. FaceCake Mktg. Tech., Inc., 973 N.Y.S.2d 34, 36 (App. Div. 1st Dept. 2013). As stated by the

 Attorney General for the State of New York: “Common stock - also called common shares, capital

 shares, or capital stock - represents units of ownership in a corporation.”12




 11
    Underscoring the absurdity of Movants’ position, if stock became property of the estate upon the filing of a petition,
 continued trading would be forbidden as a violation of the automatic stay of section 362, yet post-bankruptcy stock
 trading is common. FINRA: What a Corporate Bankruptcy Means for Shareholders (Nov. 16, 2021) available at
 https://www.finra.org/investors/insights/what-corporate-bankruptcy-means-shareholders (“[T]he securities of
 companies in bankruptcy can and often do keep trading, as there is no federal law that prohibits trading stocks in
 bankrupt companies.”); SEC Investor Publications, Bankruptcy: What Happens When Public Companies Go
 Bankrupt (“A company's securities may continue to trade even after the company has filed for bankruptcy under
 Chapter 11.”). It was for this reason that the Court entered the Trading Order – to prevent trading in the Stock that
 would impair the NOL.
 12
    Office of the New York State Attorney General: Understanding Common Investments – Investing in a Public
 Company,                 available                at:               https://ag.ny.gov/resources/individuals/investing-
 finance/stocks#:~:text=Stock%20represents%20a%20share%20of,ownership%20privileges%20of%20a%20stockhol
 der (emphasis added).

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         25.      The Third Circuit has a well-established body of case law analyzing section 541

 and the parameters of property of the estate. Given the number of public company bankruptcies

 filed in Delaware as well as other jurisdictions, one would surmise that if the issue of stock

 ownership by the debtor was as controversial and unsettled as Movants contend, it would have

 been raised long ago before other courts both within and outside of the Third Circuit. Yet that is

 not the case. While recognizing that property of the estate is construed broadly, the Third Circuit

 has indicated that the section does not create new property rights or value where there previously

 were none. Majestic Star Casino, LLC v. Barden Dev., Inc. (In re Majestic Star Casino, LLC),

 716 F.3d 736, 750-751 (3d Cir. 2013) (cites omitted).

         26.       In Majestic Star Casino, an individual who was the shareholder of an entity that

 owned one of the debtors, had successfully petitioned the IRS to revoke the non-debtor entity’s

 status as an “S” corporation, which effectively revoked the flow through tax status of the debtor.

 The result was a tax liability of one of the debtors. The debtors, through their creditors,

 successfully argued to the bankruptcy court that the S corporation status was property of the estate.

 The Third Circuit disagreed.

                  But § 541 defines property only in terms of “legal or equitable interests of
                  the debtor in property as of the commencement of the case.” 11 U.S.C. §
                  541(a)(1). It goes without saying that the “right” of a debtor to place its tax
                  liabilities on a non-debtor may turn out to have some value, but that does
                  not mean that such a right, if it exists, is property. Capacious as the
                  definition of “property” may be in the bankruptcy context, we are convinced
                  that it does not extend so far as to override rights statutorily granted to
                  shareholders to control the tax status of the entity they own.

 Id. at 757. Thus, the Third Circuit recognizes that the stock of a company is owned and

 controlled by the shareholder, and property of the estate does not extend to rights the debtor

 does not own or control.




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          26.      Movants’ allegations regarding allegedly abusive short selling by certain

 claimants who were also bondholders do not change this analysis. While Movants’

 Certification Motion, like their Plan Objections, is replete with a hodgepodge of

 commentary from the internet on alleged short selling activities, the evils of short selling

 and the arguable impact this investment strategy might have on driving companies into

 bankruptcy, Movants cite no authority determining that the existence of short selling in a

 corporation’s shares changes the ownership of borrowed stock from the holder to the

 corporate issuer. Short selling is a practice where an investor borrows the stock of a

 corporation through their brokerage company from another stock owner with a requirement

 that the stock eventually be returned.13 The investor then sells the stock, retaining the cash

 proceeds. The short seller hopes that the price of the stock will fall over time, providing

 an opportunity to buy back the stock at a lower price than the original sale price. The short

 seller then replaces the borrowed stock with the cheaper newly-acquired stock, and any

 money left over is profit to the short seller.

          27.      While this practice may be controversial14 and is currently subject to new

 SEC regulations designed to curb alleged abuses,15 the practice is not illegal and most

 importantly, for purposes of the issue presented here, it does not change the ownership of

 the Stock from the holders who are borrowing/lending or buying/selling the Stock to the

 issuing corporation, BBB. Movants cite no authority for their argument that short selling


 13
    In Paragraph 26 of the Certification Motion, Movants reference, without citation to any authority, a requirement that
 the short sellers must turnover their borrowed shares to the Debtors. But the borrowed shares are owned by the person
 who loaned them, not BBB, so it is unclear why a short seller’s borrowed shares should become property of the estate
 any more than any other shares of BBB Stock.
 14
    Why is Short Selling Legal? A Brief History, available at
 https://www.investopedia.com/articles/investing/110614/why-short-selling-legal-brief-
 history.asp#:~:text=Short%20Selling%20Becomes%20Legitimate&text=This%20rule%20prevented%20short%20se
 lling,check%20on%20upside%20price%20swings.
 15
    https://www.sec.gov/news/press-release/2023-221.

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 changes the ownership of stock from the holder to the corporation that issued it as there is

 none. And while the issue of short selling securities and its impact on bankruptcy filings

 may be of public importance, establishing such policy is not within the purview of this

 Court or any appellate court in determining whether the Debtors’ Plan met the standards

 for confirmation.

         28.      Therefore, the Stock of BBB held by its public shareholders, which was

 cancelled as of the Effective Date of the Plan, was never property of the estate. Movants’

 first and gateway issue in its Appeal – that a company’s stock becomes property of the

 estate upon the filing of a bankruptcy – is simply incorrect. No unresolved or conflicting

 question of law exists that would require certification of the Appeal for direct appeal to

 the Third Circuit.

         29.      While it is unnecessary to address the remaining issues raised by Movants

 as they all require an initial determination that stock issued by a debtor company belongs

 to the debtor company, the remaining issues will be addressed below.

                  (2)        The Debtors Were Not Required to Sue All their Shareholders to Get Back
                             their Stock before Cancelling the Stock Pursuant to the Plan.

         31.      Movants’ second argument on Appeal – that the Debtors were required to file a

 section 542 turnover proceeding to get back the Stock before cancelling it – is based on Movants’

 fundamental misunderstanding of the chapter 11 process. Chapter 11 provides a federal law

 statutory methodology for a corporate debtor to restructure or liquidate in an efficient manner.

 Within certain express parameters, as set out in sections 1121-1129 of the Bankruptcy Code, a

 corporate debtor can sell its assets, convert debt to equity, cancel existing equity, assume or reject

 contracts, and take such other actions necessary to either liquidate or restructure to enable it to pay

 its creditors and interest holders in accordance with the statutory absolute priority rule.


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         32.      The Debtors’ Plan does not contain any features that are uncommon in corporate

 liquidating plans. The Debtors’ principal assets were sold pre-confirmation, and the proceeds of

 those sales as well as any residual assets (mostly litigation) will be liquidated by the Plan

 Administrator who will distribute the resulting cash to creditors in accordance with the Plan

 Waterfall, which conforms to the absolute priority rule and the settlement contained in the Plan.

 Transcript at 10:3-11.

         33.      Section 542 is entitled “Turnover of property of the estate” and thus clearly only

 relates to property of the estate. See 5 COLLIER ON BANKRUPTCY P 542.03 (16th Ed. 2023). As

 discussed above, BBB’s Stock was never property of the estate, so it would be illogical and circular

 for the Debtors to have to seek turnover of such Stock.

         34.      As a preliminary matter, a section 542 turnover action is an adversary proceeding16

 where the plaintiff/debtor would have the burden of proof that (i) property being held by the third

 party (here, the stockholders) was the debtor’s property, and if so, then (ii) that the property (the

 Stock) was property the debtor could use, sell, or lease. The Debtors here could never meet this

 burden of proof. Nor could the Debtors ever show the property (Stock) had any consequential

 value, as the Debtors’ liabilities far exceeded the value of their assets, and the intent was to cancel

 the Stock as there was no residual value available for equity.

         35.      In regard to the treatment of BBB Interest Holders, the Plan provides: “Each

 Allowed Interest in BBB shall be canceled, released, and extinguished, and will be of no further

 force or effect and no Holder of Interests in BBB shall be entitled to any recovery or distribution

 under the Plan on account of such Interests.” Plan at III.B.9. Cancellation of stock held by out



 16
    In re Denby-Peterson, 941 F.3d 115, 130-31 (3rd Cir. 2019) (Section 542 is not self-effectuating and trustee must
 file adversary proceeding to recover property of the estate which is only recoverable upon a judicial determination
 that turnover is appropriate); see also Fed. R. Bankr. P. 7001(1).

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 of the money equity is standard practice in many corporate bankruptcy cases17 and is expressly

 permitted under section 1123(a)(5)(F) of the Bankruptcy Code. See SEC Investor Publications,

 Bankruptcy: What Happens When Public Companies Go Bankrupt (“In most instances, the

 company’s plan of reorganization will cancel the existing equity shares. This happens in

 bankruptcy cases because secured and unsecured creditors are paid from the company’s assets

 before common stockholders.”) (emphasis original).

         36.      Movants do not elaborate which subsection of section 542 is applicable to its

 arguments but based on Movants’ references to “consequential value or benefit to the estate”,18 the

 Plan Administrator surmises Movants are claiming section 542(a) applies. Section 542(a) requires

 an entity “in possession, custody, or control, during the case, of property that the trustee may use,

 sell, or lease under section 363 of this title, . . . shall deliver to the trustee, and account for, such

 property or the value of such property, unless such property is of inconsequential value or benefit

 to the estate.” The Debtors’ debt far exceeded the value of its assets – a finding not appealed by

 Movants. Therefore, even if for some reason, BBB’s Stock could be considered property of the

 Debtors’ estates, as such Stock was not property which the Debtors could “use, sell, or lease,” and

 such Stock had no consequential value, no turnover action is necessary to treat Interest Holders

 under the Plan.

         37.      Nothing in the Bankruptcy Code requires a debtor to jump through a series of

 procedural hoops to cancel its out of the money equity. Despite the enumerable bankruptcy cases

 involving public companies that cancel their old equity as part of a plan, no court has ever so


 17
    See, e.g., In re Neiman Marcus Group, Case No. 20-32519 (Bankr. S.D. Tex) [Docket No. 1795]; In re Lucira
 Health, Inc., Case No. 23-10242 (Bankr. D. Del.) [Docket No. 562-1]; In re Party City Holdco, Case No. 23-90005
 (Bankr. S.D. Tex.) [Docket No. 1701]; In re Revlon, Inc., Case No. 22-10760 (Bankr. S.D.N.Y.) [Docket No. 1727];
 In re Southern Foods Group, Case No. 19-36313 [Docket No. 3398]. In each of these cases, the public company
 debtor cancelled its equity through a confirmed plan and filed a corresponding Form 8-K with the SEC so indicating
 all equity was being cancelled upon the effective date of its plan.
 18
    Certification Motion at ¶ 20.

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 determined, and Movants cite no legal authority for their proposition that a debtor must file a

 turnover action prior to cancellation of its stock pursuant to a plan. Nor has the SEC ever made

 this argument. Such a requirement would be circular, waste valuable estate resources and have the

 exact same end result – cancellation of out of the money equity. Cf, NY BCL § 515(a) and (b) (by

 implication, recognizing that stock is owned by the holder, by permitting a corporation to cancel

 any purchased, redeemed or otherwise reacquired shares). This issue does not meet any prong of

 the test for direct appeal.

                   (3)       The Plan Does Not Violate the Fair and Equitable Requirements of the
                             Bankruptcy Code.

          38.      Movants’ third issue is that the Plan fails the fair and equitable test because,

 according to Movants, the Plan allowed voting by and distributions to certain bondholder claimants

 whose claims are disallowed because they hold Stock that is subject to turnover.19 As with the

 prior issue, this issue is dependent upon both a finding that the Stock is property of the estate and

 that such Stock (which has been cancelled) is subject to turnover. Movants’ argument is based on

 their presumption that the claims of these dual stock/bondholders are somehow automatically

 disallowed because they have not turned over their Stock.20

          39.      As stated previously, there is no legal requirement that a debtor seek turnover of its

 own stock, regardless of how interests are treated under a plan. “In insolvent debtors, plans

 which cancel all equity interests and issue stock to senior creditors are theoretically sound and

 comply with the fair and equitable requirement.” 7 COLLIER ON BANKRUPTCY P 1129.03 (16th


 19
    This issue seems to be an attempt to invoke section 502(d) of the Bankruptcy Code which provides that a claim of
 a person from whom property is recoverable under section 542, can have its claim disallowed. This standard provision
 was included in Section IV.I.6 of the Disclosure Statement.
 20
    Nothing in the Certification Motion (or the Plan Objections) elaborates on why the alleged turnover requirement
 applies only to the alleged short selling bondholders with borrowed shares as opposed to all shareholders (including
 Movants – who do not appear to have voluntarily turned over their own shares to the Debtors as allegedly required by
 section 542). Once again, the Plan Administrator is reciting these arguments, but in some instances they are virtually
 incoherent.

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 2023). In this case, no new stock was issued; rather the Plan Administrator was appointed to

 monetize any remaining assets and distribute those assets to creditors holding allowed claims21 in

 accordance with the Waterfall set out in the Plan. As it was not anticipated unsecured creditors

 (including bondholders) would be paid in full, the Plan provided no recovery for Holders of

 Interests in BBB, as required by the absolute priority rule. Thus, the Plan is fair and equitable as

 required by section 1129(b)(2)(C) in that the classes senior to Movants are not being paid in full

 and no class junior to Movants is receiving any recovery.

          40.      Additionally, even if Movants’ short selling allegations against certain bondholders

 were correct, the Plan would still meet the test for fair and equitable as to the BBB equity holders

 because to the extent the bondholders are also stockholders, they are only recovering as general

 unsecured creditors on their bond claims, not their equity claims. Cf, Ahuja v. Lightsquared Inc.,

 644 Fed. Appx. 24, 29-30, (2d Cir. 2016) (in determining equal treatment under section 1123(a)(4),

 finding that a plan that canceled the interests of all common equity holders in the debtor, including

 those of a hedge fund that held both secured claims and equity, was permissible because the hedge

 fund only received value in the reorganization for its secured claim and its contribution of certain

 litigation rights, not for its common equity interests.)

          41.      None of the three issues on Appeal discussed above meet the test for certification

 for direct appeal. None of the legal issues are unsettled or subject to conflicting rulings because

 they involve standard, long settled principles of state and bankruptcy law as to what does and does

 not constitute property of the estate which have never been contested.




 21
   It should be noted that one of the Plan Administrator’s duties is filing claim objections. Therefore, other than the
 presumed allowance of a timely-filed proof of claim to which no objection has been filed, no claims of any unsecured
 creditors have yet to be either “allowed” or “disallowed,” and given the likelihood that a recovery for unsecured
 creditors, if any, will be minimal, Movants’ arguments are not only legally unsustainable, but factually speculative.

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 C.      No Matter of Public Importance Is Implicated by the Confirmation Order.

         42.       Nor is the public interest implicated. Certification Motion at ¶¶ 25-29. Despite

 hyperbolic statements as to the impact of short selling on millions of public investors in bankrupt

 public companies, short selling is not illegal and regulating any perceived abuses are within the

 purview of the SEC and Congress,22 not the courts. Movants presented no evidence at the

 Confirmation Hearing as to any illegal acts by any short sellers and cite no statutory or case law

 indicating the alleged actions taken by certain bondholders, even if true, violate any securities

 laws. Nor does the Confirmation Order make any determination as to whether the claim of any

 specific unsecured creditor or equity holder should be allowed or disallowed. The only issue the

 Court had to decide was whether the Plan was fair and equitable to the equity holders, including

 Movants – which it was because the Plan complied with the absolute priority rule. Nothing in the

 Confirmation Order is controversial or implicates the public interest.

         43.      As detailed above, cancellation of stock held by out of the money equity is standard

 practice in many corporate bankruptcy cases. If the practice was so controversial as to implicate

 the public interest, one must wonder why it is done without any objection by the SEC in

 enumerable public company chapter 11 cases or why the SEC expressly identifies cancellation of

 equity as a customary risk to equity holders in public company bankruptcies. Additionally, if the

 allegations of securities fraud made by Movants against certain bondholders was as obvious as

 Movants contend, one would have expected the SEC to have supported Movants at the

 Confirmation Hearing.




 22
   Why is Short Selling Legal? A Brief History (Sept. 29, 2022) available at
 https://www.investopedia.com/articles/investing/110614/why-short-selling-legal-brief-history.asp.


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         44.      Movants’ citations to cases addressing the public interest and direct appeal

 certification do nothing to advance their argument as to its applicability here. For example, in In

 re Nortel Networks Corp., 2010 Bankr. LEXIS 812 (Bankr. D. Del. March 18, 2010), the Court

 denied the certification motion notwithstanding the case involved the automatic stay and

 international pension plans impacting many employees of the global debtors. Certification was

 granted in Jaffe v. Samsung Elecs. Co. (In re Qimonda AG), 470 B.R. 374 (Bankr. E.D. Va. 2012),

 but that case involved the applicability of the intellectual property protections of section 365(n) to

 chapter 15 cases and the ability of a foreign debtor to cancel US intellectual property licenses in

 pervasive globally-used technology. Similarly, in Bank of New York Trust Co., NA v. Official

 Unsecured Creditors' Comm. (In re Pacific Lumber Co.), 584 F.3d 229 (5th Cir. 2009), the court

 determined certification had been appropriate because of the impact of the restructuring on an

 ecologically important forest and on the residents of an entire town which was controlled by the

 debtors. Ransom v. MBNA Am. Bank, N.A. (In re Ransom), 380 B.R. 809 (BAP 9th Cir. 2007),

 involved the ability of a chapter 13 debtor to take certain deductions for car expenses even though

 he did not have a car. There was an ambiguity in the applicable federal guidelines for deductions

 that had been interpreted differently by numerous lower courts around the country and the issue

 implicated every chapter 13 case filed.

         45.      No such issue of public importance exists here. No court has ever determined stock

 to be property of a debtor; no court has ever required an insolvent debtor to file a turnover action

 to cancel its stock, and the SEC, who regulates public stock, accepts cancellation of equity interests

 as a common result of chapter 11. Furthermore, if the SEC and Congress wanted to eliminate short

 selling, they could make the practice illegal. It is not for the courts to make such a determination

 about the alleged abuses of short selling based on this Confirmation Order when no evidence was



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 presented at the Confirmation Hearing and no determination has been made as to the allowance or

 disallowance of any such claims. Nothing in this Confirmation Order impacts the rights of

 shareholders of any corporation other than BBB.

 D.       No Conflicting Opinions Exist which Require Resolution through Direct Appeal.

          46.      In arguing that the Appeal will involve questions of law requiring resolution of

 conflicting opinions, Movants make a number of comments throughout the Certification Motion

 that the Debtors chose not to have their cases treated as a Subchapter V small business cases, and

 this Court made such a finding in the Confirmation Order. See Certification Motion at ¶ 30. These

 statements appear in reference to the fact that the Confirmation Hearing was combined with the

 disclosure statement hearing. See ¶¶ 6-7, above.

          47.      Movants contend the procedures established by this Court in the Conditional DS

 Order conflict with one 1995 Pennsylvania bankruptcy court case which stated that the shortened

 procedures and consolidated hearing provisions of sections 1121(e) and 1125(f) of the Bankruptcy

 Code only apply in small business cases.23 Putting aside the issue of whether the “resolution of

 conflicting opinions” standard for direct appeal was intended to resolve two allegedly conflicting

 bankruptcy court opinions,24 this presumption of a conflict is incorrect because this Court did not

 take any action under either section 1121(e) or 1125(f). As Movants correctly note, these sections

 of the Bankruptcy Code only apply to small business cases and the Debtors neither qualified for

 nor ever sought such status.




 23
    In re Haskell-Dawes, Inc., 188 B.R. 515, 519-520 (Bankr. E.D. Pa. 1995) (court found it was appropriate to forgo
 appointment of a creditors’ committee because the debtor qualified as a small business; statement regarding sections
 1121(e) and 1125(f) were dicta.)
 24
    See In re Ransom, 380 B.R. at 812 (citing to no less than 50 bankruptcy court decisions ruling in various, sometimes
 conflicting, ways on the applicable issue).

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         48.      This Court correctly relied on section 105(d) for its entry of the Conditional DS

 Order and the relief set out therein. As an initial matter, this Court did not shorten notice; however,

 it did combine the hearings on confirmation of the plan and adequacy of the disclosure statement.

 Section 105(d)(2)(B)(vi) of the Bankruptcy Code expressly provides that the Court may combine

 the hearing on the adequacy of the Disclosure Statement and the hearing to confirm the Plan. 11

 U.S.C. § 105(d)(2)(B)(vi). This combined disclosure statement/plan procedure has been utilized

 in numerous cases within the Third Circuit.25 No court has determined this statutorily permitted

 process to be improper. Therefore, this Court’s Conditional DS Order does not conflict with the

 ruling of the Haskell-Dawes court, which did not address section 105(d) at all, and this non-existent

 conflict cannot provide a basis for direct appeal.

         E.       Certification for Direct Appeal Will Not Materially Advance the Case.

         49.      Movants also argue that certification for direct appeal will materially advance

 progress of the case. Certification Motion at ¶ 32-35. This is incorrect. Movants’ Stock was

 cancelled as of the Effective Date, and the administrative cancellation of the Stock CUSIP numbers

 has been effectuated. The Stock cannot be un-cancelled. It is unclear what relief Movants believe

 an appellate court can grant them – reinstatement of valueless cancelled stock in a company that

 no longer exists or forcing the Plan Administrator to file turnover actions against the old

 shareholders in order to recover the worthless already cancelled Stock so it can be re-cancelled.

 Movants’ Appeal and the related Stay Motion and this Certification Motion are materially

 hampering the progress of these cases because the Plan Administrator must use valuable estate

 resources to respond to and defend against a specious and moot Appeal which Movants lack


 25
   See, e.g., In re Lucira Health, Inc., Case No. 23-10242 (Bankr. D. Del.) [Docket No. 519]; In re L’Occitane, Inc.,
 No. 21-10632 (Bankr. D.N.J.) [Docket No. 408]; In re Modell’s Sporting Goods, Inc., No. 20-14179 (Bankr. D.N.J.)
 [Docket No. 762]; In re SLT Holdco, Inc., No. 20-18368 (Bankr. D.N.J.) [Docket No. 461].


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 standing to assert and for which no relief can be granted that would not put Movants in the exact

 same position they are now – holders of cancelled equity in an entity that no longer exists.

         50.      Movants cite to several cases that limit the ability of a debtor to utilize section

 1127(b) post-confirmation/pre-substantial consummation plan modification provisions to amend a

 confirmation order. Certification Motion at ¶ 33. As Movants fail to indicate who is seeking to

 modify the Confirmation Order and how they are seeking to modify it, the relevance or

 applicability of this argument to the Certification Motion cannot be discerned.

         51.      Movants also cite several cases indicating that a debtor cannot use a “chapter 22”

 – a second chapter 11 – to modify the plan confirmed in its first chapter 11. Certification Motion

 at ¶ 33. Here again, as the Plan Administrator is not seeking any such relief, the relevance or

 applicability of this argument to the Certification Motion cannot be discerned.

         52.      Nothing in the Appeal will materially advance these cases and Movants fail to prove

 otherwise. The Certification Motion should be denied.

                        IV.      CONCLUSION AND RELIEF REQUESTED

         53.      The Certification Motion should be denied. While the issues raised in Movants’

 Appeal, as set forth in paragraph 20 of the Certification Motion and as discussed above, are

 admittedly unique, they are based on Movants’ misunderstanding of bankruptcy law without

 citation to any applicable, let alone conflicting or unresolved, case law. This Appeal does not

 involve an unsettled question of law as to which there is no controlling decision of the Court of

 Appeals for the Third Circuit or of the Supreme Court, does not involve a matter of public

 importance, and does not require resolution of any conflicting decisions. Nor will an immediate

 appeal from the Confirmation Order materially advance the progress of these cases.              The

 Certification Motion should be denied.



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         For the foregoing reasons, the Plan Administrator respectfully requests that the Court deny

 the relief requested in the Certification Motion.

  Dated: October 27, 2023                    PACHULSKI STANG ZIEHL & JONES LLP

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